Case 1:21-cr-00229-RBJ Document 239-1 Filed 04/06/22 USDC Colorado

 

Please remember, you may submit a question only to the witness in this case,

 

not to the Judge or attorneys.

 

For Witness: By id le

Question:

 

 

 

 

 

 

 

 

 

 

 

Juror Questioning
Procedure

Please write your question in a
clear and legible manner.

Your question must be
submitted in writing and using
this form. Please do not
identify yourself in any way on
the form.

The Judge will make a
determination whether or not
the question is proper. The
Judge will use the same
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the question clearer to the
witness.

If the question can be asked,
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witness at an appropriate time
before the witness is excused.

 

 

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Question No. le

ACTION BY THE COURT: Permitted
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Juror Question (s)

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For Witness: B rf di 4,

Question:

 

 

 

 

 

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Question No. a

ACTION BY THE COURT: EX Permitted
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Please remember, you may submit a question only to the witness in this case, not to the Judge or attorneys.

 

 

 

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Procedure
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Question No. 4
ACTION BY THE COURT: went

CO Denied

 

 

 

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Page 4 of 11
Case 1:21-cr-00229-RBJ Document 239-1 Filed 04/06/22 USDC Colorado

 

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Juror Question (s)

Please remember, you may submit a question only to the witness in this case, not to the Judge or attorneys.

 

For Witness: 8r { lt @

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Question: IA Aer expenenck,

 

 

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Juror Questioning
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Question No. 5

ACTION BY THE COURT: A Permitted

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C Rephrased

 

 

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Juror Question (s)

Please remember, you may submit a question only to the witness in this case, not to the Judge or attorneys.

For Witness: 4. CX ay Foanni dA

 

 

Juror Questioning
Procedure

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Question No. bb
ACTION BY THE COURT: B-Formited

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Case 1:21-cr-00229-RBJ Document 239-1 Filed 04/06/22 USDC Colorado

 

Please remember, you may submit a question only to the witness in this case, not to the Judge or attorneys.

 

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Juror Questioning
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Question No. x

ACTION BY THE COURT: Permitted = Prsebonr A
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Case 1:21-cr-00229-RBJ Document 239-1 Filed 04/06/22 USDC Colorado Page 8 of 11

Please remember, you may submit a question only to the witness in this case, not to the Judge or attorneys.

 

 

 

 

 

For Witness:

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Question No. oO

 

ACTION BY THE COURT: Et Permitted
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Case 1:21-cr-00229-RBJ Document 239-1 Filed 04/06/22 USDC Colorado

 

Juror Question (s)

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For Witness: Juror Questioning
Procedure
Question: 1. Please write your question in a

 

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Question No.

ACTION BY THE COURT: 2 Permitted
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Juror Question (s)

Case 1:21-cr-00229-RBJ Document 239-1 Filed 04/06/22 USDC Colorado

Please remember, you may submit a question only to the witness in this case, not to the Judge or attorneys.

 

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For Witness:

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Juror Questioning
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ACTION BY THE COURT: Permitted

C) Denied
OC Rephrased

 

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